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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 BCBSM, Inc. (d/b/a Blue Cross and
 Blue Shield of Minnesota), et al.,
                                                        Case No. 1:20-cv-1853
        Plaintiffs,

                      v.                                Honorable Virginia M. Kendall
                                                        Magistrate Judge Sheila Finnegan
 Walgreen Co. and Walgreens Boots
 Alliance, Inc.,
                                                        Consolidated with
        Defendants.
                                                        Case No. 1:20-cv-1929
                                                        Case No. 1:20-cv-3332




   DEFENDANTS WALGREEN CO.’S & WALGREENS BOOTS ALLIANCE, INC.’S
              MOTION TO DISMISS CASE NO. 1:20-CV-1853
                UNDER FED. R. CIV. P. 12(B)(7) & 12(B)(6)


       Pursuant to Rules 12(b)(7) and 12(b)(6) of the Federal Rules of Civil Procedure and for the

reasons set forth in the Memorandum in Support of Defendants Walgreen Co.’s & Walgreens

Boots Alliance, Inc.’s Motion to Dismiss Case No. 1:20-cv-1853 under Fed. R. Civ. P. 12(b)(7)

and 12(b)(6), Defendants Walgreen Co. (“Walgreens”) and Walgreens Boots Alliance, Inc.

(“WBA,” and together with Walgreens, “Defendants”) respectfully move this Court to dismiss all

counts of the Plaintiffs’ Complaint (Dkt. No. 1) for failure to join a party under Rule 19 and for

failure to state a claim upon which relief can be granted.

       WHEREFORE, Defendants Walgreens and WBA respectfully request that this Court

dismiss all counts of Plaintiffs’ Complaint with prejudice and grant such other and further relief

as this Court deems just and proper.




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Dated: July 8, 2020                    Respectfully submitted,




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                                CERTIFICATE OF SERVICE

       I, Charles D. Zagnoli, hereby certify that Defendants Walgreen Co.’s & Walgreens Boots

Alliance, Inc.’s Motion to Dismiss Case No. 1:20-cv-1853 under Fed. R. Civ. P. 12(b)(7) &

12(b)(6) was electronically filed on July 8, 2020, and will be served electronically via the Court’s

ECF Notice system upon the registered parties of record.



                                               /s/ Charles D. Zagnoli

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